433 F.2d 430
    UNITED STATES of America, Plaintiff-Appellee,v.Richard John GOEDEN, Defendant-Appellant.
    No. 29949 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Incv.Citizens Casualty Co. of New York et al., 5th Cir., 1970,
    
      431 F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Nov. 9, 1970.
      Jack R. Nageley, Miami Beach, Fla., for defendant-appellant.
      Robert W. Rust, U.S. Atty., Neal R. Sonnett, Asst. U.S. Atty., Miami, Fla., for plaintiff-appellee.
      Before WISDOM, COLEMAN, and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A store detective arrested this appellant in the State of Florida for passing, uttering and possessing counterfeit twenty dollar Federal Reserve Notes, with intent to defraud, Probable cause for the arrest is plainly evident from the record.  Upon indictment, contending that a private citizen had no authority to effect a legal arrest for an offense against Federal Treasury laws, Goeden moved to suppress the evidence.
    
    
      2
      The District Court correctly denied the motion, Moll v. United States, 5 Cir., 1969, 413 F.2d 1233; United States v. Chapman, 5 Cir., 1969, 420 F.2d 925.  In each of these cases involving arrests for federal offenses, it was held that Florida follows the common law with regard to arrests by private citizens and that the arrests in question were lawful.
    
    The judgment of the District Court is
    
      3
      Affirmed.
    
    